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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FRANK CARBONE, ANDREW CORZO,                             Case No. 1:22-cv-00125
SAVANNAH ROSE EKLUND, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLANDER, BRANDON PIYEVSKY, KARA
SAFFRIN, and BRITTANY TATIANA WEAVER,                    Judge Matthew F. Kennelly
individually and on behalf of all others similarly
situated,                                                Magistrate Gabriel A. Fuentes
                              Plaintiffs,

       v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,
                      Defendants.

                         DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants Brown

University, California Institute of Technology, University of Chicago, The Trustees of Columbia

University in the City of New York, Cornell University, Trustees of Dartmouth College, Duke

University, Emory University, Georgetown University, The Johns Hopkins University,

Massachusetts Institute of Technology, Northwestern University, University of Notre Dame Du

Lac, The Trustees of the University of Pennsylvania, William Marsh Rice University, Vanderbilt

University, and Yale University respectfully move this Court to dismiss Plaintiffs’ Amended
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Complaint with prejudice. In support of this Motion, Defendants submit a Memorandum in

Support of Defendants’ Motion to Dismiss and state as follows:

        1.     As explained more fully in the accompanying memorandum, Plaintiffs’ antitrust

claim fails because the collaboration they challenge is exempt from challenge under the antitrust

laws.

        2.     Even if that were not the case, Plaintiffs fail to plausibly allege a violation of the

Sherman Act, have alleged injuries that are too speculative to satisfy antitrust injury and standing

requirements, and have raised claims that are time-barred.

        WHEREFORE, Defendants respectfully request that this Court find that Plaintiffs have

failed to state a claim for relief, enter an order and judgment dismissing the Amended Complaint

with prejudice, and grant such further relief as the Court deems just and proper.

Dated this 15th day of April 2022.




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